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UNITED STATES DISTRICT COURT: © o> oe:

‘DISTRICT OF CONNECTICUT
ANDREW T. OSINSKI. )
, ) CIVIL ACTION NO. 3:04CV01993 (AWT)
Plaintiff, )
Caw
v.. )
)
JACK H. JACOBS, )
) «
Defendant. ) March 14, 2005

NOTICE OF VOLUNTARY DISMISSAL
Pursuant to Rule 41 (a) (1) (i) of the Federal Rules of Civil Procedure, the Plaintiff,
Andrew T. Osinski, hereby files notice of the Plaintiffs intention to voluntarily dismiss his
action against the Defendant, Jack H. Jacobs. The Plaintiff certifies that the Defendant has not

answered the Complaint nor has either party moved for summary judgment.

THE PLAINTIFF,
ANDREW T. OSINSKI,

Scott M. Harringn/ct02482
DISERIO MARTIN O'CONNOR &

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OO Stamford, CT 06901
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ALVIN W. THOMPSON, U.8.0d
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